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Rev. 2/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

American Bankers Association
Plaintiff(s)

 

Civil Action No. 1:16-cv-02394-KBJ
VS.

National Credit Union Administration

 

 

 

Defendant(s)
AFFIDAVIT OF MAILING
L Lauren Moxley , hereby state that:
On the 6 day of January , 2017 I caused to be deposited in the

 

United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,

return receipt requested, restricted delivery, addressed to the following defendant:

National Credit Union Administration, 1775 Duke Street Alexandria, VA 22314-3428

I have received the receipt for the certified mail, No. 7015 1520 0001 3148 9771

 

(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
on the 9 day of January , 2017

 

I declare under penalty of perjury that the foregoing is true and correct.

 

 

hi7fi7 Maunen W) oyhiy,

(Date) (Signature)
Case 1:16-cv-02394-DLF Document 9

 

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or on the front if space permits.

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Robert A. Long jr. GO4S

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